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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                                CR-18-80-GF-BMM
               Plaintiff,
      vs.

JOE DON DEMONTINEY,                                     ORDER

               Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on May 10, 2021. (Doc. 67.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).
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      Judge Johnston conducted a revocation hearing on May 6, 2021. (Doc. 65.)

The United States accused Demontiney of violating his conditions of supervised

release 1) by consuming alcohol on two separate occasions; 2) by possessing

heroin; 3) by committing two other crimes; 4) by using amphetamines; and 5) by

using methamphetamine on two separate occasions. (Doc. 61.)

      At the revocation hearing, Demontiney admitted to violating the conditions

of his supervised release 1) by consuming alcohol on two separate occasions; 2) by

using amphetamines.; and 3) by using methamphetamine on two separate

occasions. Judge Johnston dismissed alleged violations 3, 4 and 6 on the

government’s motion. (Doc. 65.) Judge Johnston found that the violations

Demontiney admitted proved to be serious and warranted revocation, and

recommended that Demontiney receive a custodial sentence of 2 months with 34

months of supervised release to follow. (Doc. 67.) Demontiney was advised of his

right to appeal and his right to allocute before the undersigned. (Doc. 65.) The

violations prove serious and warrant revocation of Demontiney’s supervised

release. The Court finds no clear error in Judge Johnston’s Findings and

Recommendations.

      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 67) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant Joe Don Demontiney be sentenced to the custody of
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the United States Bureau of Prisons for 2 months, with 34 months of supervised

release to follow. Demontiney will receive credit for time served.

      DATED this 25th day of May, 2021.
